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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


DUSTIN KAMPERT, individually and on
behalf of all others similarly situated,                Case No: 8:18-cv-1090-EAK-AAS

               Plaintiff,

       v.

RAYMOND JAMES FINANCIAL
SERVICES, INC.,

               Defendant.



                             JOINT NOTICE OF SETTLEMENT

       In accordance with M.D. Fla. L. R. 3.08(a), Plaintiff Dustin Kampert and Defendant

Raymond James Financial, Inc. (collectively, “the Parties”) hereby notify the Court that the

Parties have reached an agreement to resolve all claims in the above-referenced matter, and are

in the process of finalizing their written agreement.



                                                          Respectfully submitted,

                                                          Dated: July 29, 2019




                              [Signatures Begin on Following Page]
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